
USCA1 Opinion

	










United States Court of Appeals

For the First Circuit







No. 00-2352


CATHERINE GONZALEZ, INDIVIDUALLY AND AS


PARENT GUARDIAN AND NEXT FRIEND OF THE


MINOR CHILD KIANA RIOS,



Plaintiff, Appellant,



v.



UNITED STATES OF AMERICA,



Defendant, Appellee.









ERRATA SHEET



	The opinion of this Court issued on, April 1, 2002, is
amended as follows:

	Page 9, replace the text in lines 18-20 with the following: 
"This court uses different standards of review in evaluating a
district court's dismissal for lack of subject matter
jurisdiction under Fed. R. Civ. P. 12(b)(1), depending on the
circumstances.  See Valentín v. Hosp. Bella Vista, 254 F.3d 358,
362-63 (1st Cir. 2001).  Here, however, the plaintiff's
challenge focuses on pure (or nearly pure) questions of law, and
thus engenders de novo review.  See id."


	Page 10, delete the text on lines 10-13 beginning "A Rule
12(b)(1) . . . (D. Mass. 1998)." and replace with the following
text: "A Rule 12(b)(1) motion is sometimes transformed into a
Rule 56 motion where jurisdictional issues cannot be separated
from the merits of the case.  See Valentín, 254 F.3d at 363 &amp;
n.3."






